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8                          UNITED STATES DISTRICT COURT
9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                               )
11     UNITED STATES OF AMERICA,               ) Case No. CV 18-803-MWF (JEMx)
                                               )
12                           Plaintiff,        ) JUDGMENT AGAINST
                                               ) DEFENDANT JANE BOYD
13           vs.                               )
                                               )
14     JANE BOYD,                              )
                                               )
15                           Defendant.        )
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21           The above-titled matter came before the Honorable Michael W. Fitzgerald,
22     United States District Judge, presiding in Courtroom 5A of the above-titled Court,
23     pursuant to Plaintiff United States of America’s Motion for Summary Judgment
24     (Docket No. 31) and Defendant Jane Boyd’s Motion for Summary Judgment
25     Pursuant to Federal Rule of Civil Procedure 56 (Docket No. 32).
26           All claims have now been resolved, as follows: In an Order dated April 23,
27     2019, the Court granted summary judgment in favor of Plaintiff as to its claim to
28     reduce to judgment a federal Foreign Bank and Financial Accounts (“FBAR”)
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1      penalty assessment against Defendant and denied Defendant’s motion for summary
2      judgment. (Docket No. 47).
3            Now, therefore, pursuant to Rules 56 and 58 of the Federal Rules of Civil
4      Procedure, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
5      judgment be entered as follows:
6            1.    Judgment is entered in favor of Plaintiff and against Defendant in the
7                  amount of $49,185.53, consisting of unpaid FBAR penalty
8                  assessments for the 2010 calendar year in the aggregate amount of
9                  $47,279.00, failure-to-pay penalties in the aggregate amount of
10                 $1,453.16, and statutory interest in the amount of $453.37.
11                 Additional penalties and interest will accrue as provided by law until
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                   such obligation is paid in full.
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             2.    Plaintiff is awarded its costs as provided by law.
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       Dated: April 23, 2019             ______________________________
17                                            MICHAEL W. FITZGERALD
18                                            United States District Judge

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